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                              UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF OHIO
                                    EASTERN DIVISION

MIDWEST MOTOR SUPPLY,

                 Plaintiff,
                                                     CASE NO.: 2:20-cv-1785
         v.                                          JUDGE EDMUND A. SARGUS, JR.
                                                     Magistrate Judge Kimberly A. Jolson

NICHOLAS HYDE, et al.,

                 Defendants.


                                             ORDER

          This matter is before the Court for consideration of a Report and Recommendation issued

by the Magistrate Judge on July 24, 2020. (ECF No. 13.) The time for filing objections has passed,

and no objections have been filed to the Report and Recommendation. Therefore, the Court

ADOPTS the Report and Recommendation.             For the reasons set forth in the Report and

Recommendation, this case is hereby REMANDED to the Franklin County Court of Common

Pleas.

          IT IS SO ORDERED.




10/19/2020                                    s/Edmund A. Sargus, Jr.
DATE                                          EDMUND A. SARGUS, JR.
                                              UNITED STATES DISTRICT JUDGE
